b ‘ Case 2: O/r- 20124- BBD Document 170 Filed 06/01/05 Page 1 of 3 Page|D 171

 

 

D.c:.
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_ THE UNITED sTATEs DISTRICT COURT ii v
‘SJUi*i.-\ Pi‘\ 5' THE WESTERN DISTRICT or TENNESSEE
0 ‘ wEsTsRN DIvIsIoN uh Ei| iii i 3
# n (“\ "{U\Ol;_m
RUIFTS§ DWP MMMS
UNLY§DOBT"HTE§ or AMERICA,
Plaintiff,
vs. No. 03-20124-D

ANTONIO NEAL,

Defehdeht.

 

MOTIONVTO SET RESENTENCING

 

Comes now the defendant, Ahtohio Neal, by and through his
Court-eppointed counsel of record, Michael J. Stehgel, Esq., and in
light of the Sixth Circuit’s order filed March 30, 2005 (Exhibit

A), moves this Court to Set his resentencing.

Respectfully submitted,

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MoTloN G§ANTOED 6?(/:\§

Michael J; Stengel (1§260)
Attorney for Defendant

ERNICEBOU|EDONALD 50 N_ FrOm__ Street! Suit€ 850

u_S_ DlSTR\cTJuDGE Memphis, Termessee 38103
(901) 527~3535

    

Certificate of Service
I hereby certify that l have served a copy of the foregoing

upon Ms. Lorraine Craig, Assistant United States Attorney, 167 N.
Main Street, Room 800, Memphisr Tennessee 38103, this 3133: day of

Michael J. Steng elV

This document entered oh ‘he docket heat in com arms 70
with Huie :»~E amib/orSQ( }FHCrP on §§ ‘g j;`\§mj

Case 2:03-Cr-20124-BBD Document 170 Filed 06/01/05 Page 2 of 3 Page|D 172
Case No: 04-5595

UNITED ST%JES COURT OF APPEALS
FOR IHE SIXIH CIRCUIT

oRDER
` UNITBD STATES oF AMERI_CA
' Plaintiif - Appellee ' § l E n
v_ d ‘ MAR 310 2005
ANTONIO NEAL ' LEONARD GREEN, Clerk

Defendant - Appellant

Upon Consideration of the appellant’s motion to remand fox
resentencing in light of Supreme Court’s decision in US v. Bookex,
` And further considering the appellee’s opposition thereto,
ls it ORDERED that the motion be and it hereby is GRANTED

and this case is hereby REMANDED in light of Booker.

ENTERED BY ORDER OF THE COURT

 
   

Le naxd Green, Clerk

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sTRlC COUR -WESTER DISTRCT oFTENNESSEE

thice of Distribution

This notice confirms a copy cf the document docketed as number 170 in
case 2:03-CR-20124 Was distributed by faX, mail, or direct printing on
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Lcrraine Craig

U.S. ATTORNEY'S OFFICE
167 N. Main St.

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Honcrable Bernice Donald
US DISTRICT COURT

